  8:08-cv-00398-LSC-FG3 Doc # 59 Filed: 06/25/09 Page 1 of 2 - Page ID # 177




                   UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF NEBRASKA

KELLIE LAMBERT and BETSY                    )
BURKEY, Personal Representatives            )    8:08CV398
of the Estate of DONALD E. BURKEY,          )
                                            )
             Plaintiffs,                    )
                                            )    STIPULATION AND MOTION
      v.                                    )    FOR DISMISSAL WITH
                                            )    PREJUDICE
THE UNITED STATES OF AMERICA,               )
                                            )
             Defendant.                     )

      COME NOW the Plaintiffs and the Defendant and hereby stipulate, agree, and

move that the above-captioned case be dismissed with prejudice, each party to bear their

own costs, and complete record waived.

KELLE LAMBERT and BETSY                         THE UNITED STATES OF AMERICA,
BURKEY, Personal Representatives                Defendant
of the Estate of Donald E. Burkey,
Plaintiffs                                      By: JOE W. STECHER
                                                    United States Attorney
                                                    District of Nebraska

By: s/ Elizabeth A. Govaerts
     ELIZABETH A. GOVAERTS, #20315              And: s/ Robert L. Homan
     VINCENT M. POWERS & ASSOC.                      ROBERT L. HOMAN, #18580
     411 South 13th Street, Suite 300                Assistant U.S. Attorney
     Lincoln, NE 68508                               1620 Dodge Street, Suite 1400
     Tel: (402) 474-8000                             Omaha, NE 68102-1506
     Fax: (402) 474-5006                             Tel: (402) 661-3700
     Elizabeth@vpowerslaw.com                        Fax: (402) 661-3081
                                                     robert.homan@usdoj.gov
   8:08-cv-00398-LSC-FG3 Doc # 59 Filed: 06/25/09 Page 2 of 2 - Page ID # 178



                              CERTIFICATE OF SERVICE

        I hereby certify that on June 25, 2009, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to the
following: Elizabeth A. Govaerts, Vincent M. Powers and Joseph S. Daly; and also
hereby certify that a copy of the same has been served by regular mail, postage prepaid, to
the following non-CM/ECF participants: None.



                                                  s/ Robert L. Homan
                                                  Assistant U.S. Attorney




Stip & Mtn Dismiss.wpd                       2
